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                 VERIFIED
              CERTIFICATE of ACHIEVEMENT


                                                                                                                                             Ashish Jha
                                                                                                                                                Director
              This is to certify that
                                                                                                                          Harvard Global Health Institute



              Ari Teman
              successfully completed and received a passing grade in


              PH557x: Lessons From Ebola: Preventing the
              Next Pandemic
              a course of study oﬀered by HarvardX, an online learning initiative of Harvard
              University.




                           VERIFIED CERTIFICATE                     VALID CERTIFICATE ID
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